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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:06-cr-00119
                                    )
v.                                  )                 Honorable John Corbett O’Meara
                                    )
GABRIEL GARCIA -MARTINEZ,           )
                                    )
            Defendant.              )
____________________________________)


                 SUPPLEMENTAL REPORT AND RECOMMENDATION

               As discussed in the Report and Recommendation entered July 19, 2006 as adopted

by the Order and Judgment entered August 1, 2006, the undersigned conducted a plea hearing in the

captioned case on July 14, 2006, after receiving the written consent of defendant and all counsel.

It is the opinion of the Court, counsel for the government, and counsel for the defendant that at the

July 14, 2006 hearing defendant Gabriel Garcia-Martinez entered an informed plea of guilty to Count

One of the Indictment, charging defendant with conspiracy to produce and transfer false

identification documents in violation of 18 U.S.C. §§ 1028(f), 1028(a)(1) and (a)(2). However,

although defendant clearly understood that he was pleading guilty, reviewed and signed the plea

agreement, and gave a detailed factual basis for his guilty plea, it has been brought to the Court’s

attention that defendant was never asked directly how he intended to plead, and thus never formally

entered his plea of “guilty.” On August 31, 2006, defendant again appeared with counsel and an

interpreter, and confirmed his intent to plead guilty by so pleading.
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               I therefore recommend that defendant’s confirmed plea of guilty to Count One of the

Indictment be accepted and that defendant continue to sentencing. The clerk is directed to procure

a transcript of the addendum to plea hearing for review by the District Judge.



Date: September 5, 2006                                 /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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